*-..

/."
Case1:04-cV-01144-RL.]-STA Document47 Filed 05/26/05 Pagelof€ l:?aget§@l z

IN THE UNITED STATES DISTRICT COURT

 

FoR THE WESTERN DISTRICT oF TENNESSEE f ' ,a " Q/»
EASTERN DIvIsIoN ’51;, '
"/'/"/'-")n ' 95
BERNADETTE CUNNINGHAM AND ) j ?§z'§
RosALIND JoHNsoN, lNDIVIDUALLY, ) t(,j.;j;‘~
AND As ADMINISTRATRIX oF THE ) ~/?/ '
ESTATE oF NEKEY A. MAGSBY, )
DECEASED, )
)
Plaintiffs, )
)
vs. ) Docket No. 1-04-1 l44-T/An
)
MICHELIN NoRTH AMERch, iNc, )
MICHELIN AMERICAS RESEARCH & )
DEVELoPMENT CoRP., GENERAL )
MoToRs CoRPoRATIoN, )
)
Defendants. )
M_SEMR_M

Defendant Michelin Americas Resea.rch & Development Corp. (“MARC”) by and
through its undersigned counsel seeks to extend the time allowed for responding to the Plaintiffs’ _
Motion to Compel Discovery from May 31, 2005 to June 10, 2005. Counsel for plaintiffs has
consented to the extension

IT IS SO ORDERED.

<§%¢r @.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: mel 254 2005/-

Thls document emmdon the dodmtmm compliance
with Ru|e 58 and,'or_79 (a) FHCP on

\.\#\

Case 1:04-cv-01144-RL.]-STA Document 47 Filed 05/26/05 Page 2 of 6 Page|D 62

WE SO MOVE:

ARMSTRONG ALLEN, PLLC

ert V. Redding (#0795 8)
onathan O. Steen (#16519)
464 North Parl<way, Suite A
Jackson, T'N 38305
73 1~660-23 32

MORRIS, MANNING & MARTIN LLP

By: MC w EF)W£> l

Elié’abeth C. Hehn (Georgia Bar No. 28§9§0) ”“
Robert P. Alpert (Georgia Bar No. 013635)
1600 Atlanta Financial Center

3343 Peachtree Road, N.E.

Atlanta, Georgia 30326-1044

404-233-7000

Attorneys for Michelin Americas Research & Developrnent Corp.

WE SO CONSENT:

GARY EUBANKS & ASSOCIATES

\

.Gs

T. Michael Lee, Esq. M//l-Gw~mr»%
Gary Eubanks & Associates

708 West Second Street

Little Rock, Arkansas 72201

501-372-0266

By:

Attorneys for Plaintiffs Bernadette Cunningham and Rosalind Johnson

Case 1:04-cv-01144-RL.]-STA Document 47 Filed 05/26/05 Page 3 of 6 Page|D 63

NELSON MULLl`NS RlLEY & SCARBOROUGH, LLP

  
   
 
      

_ . Marvin Quattlebaum, Jr.

   

l /

A
Nelson Mullins Riley & Scarborough, LLP
Poinsett Plaza

P. O. Box 10084

Greenville, SC 29603-0084

AND

John R. Tarpley

Lewis, King, Krieg & Waldrop, P.C.
SunTrust Bank Building

201 Fourth Avenue, North, Suite 1500
P.O. Box 198615

Nashville, TN 37219

Attomeys for Michelin North America, Inc.

K:\Ml409\5 73 66\PLEADINGS\CNORDEXT.DOC

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case l:04-CV-Ol 144 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listedl

 

 

Kirk A. Caraway
ROSENBLUM & REISMAN
80 l\/lonroe Ave.

Ste. 950

l\/lemphis7 TN 38103

Gary Holt

EUBANKS & ASSOCIATES
708 W. Second St.

Little Rock7 AR 72201

Fred J. Fresard
BOWMAN & BROOKE
50 West Big Beaver Rd.
Troy7 l\/ll 48084--529

T. Michael Lee

EUBANKS & ASSOCIATES
708 W. Second St.

Little Rock7 AR 72201

Elizabeth C. Helm

MORRIS MANNING & MARTIN
3343 Peachtree Rd.7 NE

Atlanta, GA 30326--104

Andrea Laginess Moody
BOWMAN & BROOKE
50 West Big Beaver Rd.
Troy7 l\/ll 48084--529

David L. Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Case 1:04-cv-Oll44-RL.]-STA Document 47 Filed 05/26/05 Page 5 of 6 Page|D 65

A. l\/l. Quattlebaum

NELSON l\/[ULLINS RILEY & SCARBOROUGH, L.L.P.
104 South l\/lain St.7 Ste. 900

P.O.Box10084

Greenville7 SC 29601

Joe S. Moore

Circuit Court Clerk
Haywood County Cthse.
Brownsville, TN 38012

Jonathan O. Steen

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jacl<Son7 TN 38305

Jeffrey S. Rosenblum
ROSENBLUM & REISMAN
80 l\/lonroe Ave.

Ste. 560

l\/lemphis7 TN 38103

Susan J. Warren

MORRIS MANNING & MARTIN
3343 Peachtree Rd.7 NE

Atlanta, GA 30326--104

Robert Redding

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jacl<Son7 TN 38305

John R. Tarpley

LEWIS KING KRIEG & WALDROP, PC
201 4th Avenue North

Ste. 1500

Nashville, TN 37219

Robert P. Alpert

MORRIS MANNING & MARTIN
3343 Peachtree Rd.7 NE

Atlanta, GA 30326--104

Russell l\/larlin

EUBANKS & ASSOCIATES
708 W. Second St.

Little Rock7 AR 72201

Case 1:04-cv-Oll44-RL.]-STA Document 47 Filed 05/26/05 Page 6 of 6 Page|D 66

Honorable J ames Todd
US DISTRICT COURT

